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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: JUDGE RUIZ REASSIGNED                        )   JUDGE DAVID A. RUIZ
CIVIL CASES                                         )
(see attached case list)                            )
                                                    )   ORDER
                                                    )


       The present action was recently reassigned to the undersigned District Court Judge

pursuant to General Order 2022-03. All prior orders issued in this action, including (but not

limited to) Initial Orders and Case Management Orders, shall remain in effect unless such

order(s) were superseded by subsequent court order(s).

       Furthermore, the parties are hereby ordered to confer and file a brief Joint Status

Report within fourteen (14) days of this Order. The Joint Status Report shall set forth the

following:

       (1) Identify by date and electronic filing number all pending motions, whether said

motions are ripe, and whether any of the pending motions have been rendered moot by

subsequent developments.

       (2) The status of discovery, including any unresolved discovery disputes only if the

dispute had previously been brought to the court’s attention. Any potential new discovery

disputes should not be brought to the court’s attention until the procedures set forth in the Local

Rules have been followed. The parties should not present argument about any pending or

potential discovery disputes. If discovery has not commenced, a brief explanation should be

furnished.
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       (3) Whether the parties have engaged in or are interested in engaging in a settlement

and/or mediation conference either through the court’s alternate dispute resolution (ADR)

procedures or through a private mediator. The parties shall also advise whether any portion of

their claim(s) have been settled or whether claims against any party or parties have been settled.

If there has been a settlement in principle, the parties shall advise when the stipulated notice of

dismissal was filed or when they intend to file a stipulated notice of dismissal.

       (4) Identify the date and time of any upcoming conferences with the court set by the

previous District Judge assigned to the matter.

       (5) Any other matters that the parties agree should be brought to the court’s attention.

However, the Joint Status Report is not an appropriate vehicle to raise issues and arguments

more properly addressed by way of a motion.

       IT IS SO ORDERED.



Date: February 28, 2022                               s/ David A. Ruiz
                                                      David A. Ruiz
                                                      United States District Judge




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   Case Number                                                   Case Caption
1:20‐cv‐00050    Donohoe, et al. v. City of Cleveland, Ohio
1:20‐cv‐00065    Welch v. United States of America
1:20‐cv‐00288    Bottum v. Cuyahoga County et al
1:20‐cv‐00314    Henning v. United States of America
1:20‐cv‐00660    Sailor v. City of Cleveland et al
1:20‐cv‐00711    Trivison v. Federal National Mortgage Association
1:20‐cv‐00920    Helwig v. Concentrix Corporation
1:20‐cv‐00998    Baumgart v. University Hospitals Cleveland Medical Center
1:20‐cv‐01107    Scalia v. Moscarino Outdoor Creations, Inc. et al
1:20‐cv‐01273    Huggins v. Williams et al
1:20‐cv‐01823    Burrell v. City of East Cleveland et al
1:20‐cv‐02026    Banks v. Foundation Automotive Corp. et al
1:20‐cv‐02322    Noco Company v. Aukey Technology Co., Ltd., et al.
1:20‐cv‐02336    Lozada v. Case Western Reserve University
1:20‐cv‐02401    Keller North America, Inc. v. Earl et al
1:20‐cv‐02487    Deloitte Tax LLP v. Murray
1:20‐cv‐02542    Kuchar v. Saber Healthcare Holdings, LLC et al
1:20‐cv‐02568    Rogers et al v. Horwitz et al
1:21‐cv‐00204    Za Corp., et al v. MVGMM, Inc., et al
1:21‐cv‐00449    Domokos v. Reserve Network, Inc., et al.
1:21‐cv‐00604    Noco Company v. CF Group SZKMS Co., Ltd
1:21‐cv‐00870    Lubrizol Corporation v. International Business Machines Corporation
1:21‐cv‐00892    Dugger v. Honeywell International Inc. et al
1:21‐cv‐00938    Chan v. PNC Bank, National Association
1:21‐cv‐00944    Billingsley, et al v. Lincoln Electric Company
1:21‐cv‐00999    Montgomery v. Gove, et al
1:21‐cv‐01058    Mulkey et al v. RoundPoint Mortgage Servicing Corporation
1:21‐cv‐01188    Schmitt v. Security National Servicing Corporation
1:21‐cv‐01356    United States of America v. Fidelity and Deposit Company of Maryland
1:21‐cv‐01393    Saffell v. TEKsystems, Inc., et al
1:21‐cv‐01418    King v. Third Federal Savings and Loan Association of Cleveland, et al
1:21‐cv‐01432    Allison v. United States of America
1:21‐cv‐01434    Bastock v. Board of Education of the Lorain City School District et al
1:21‐cv‐01525    Smith v. Lorain County Veterans Service Commission
1:21‐cv‐01682    Covert Manufacturing, Inc. v. Covert Innovations, LLC, et al
1:21‐cv‐01773    Moore Road, LLC v. Snodgrass et al
1:21‐cv‐01866    Brotherhood of Locomotive Engineers and Trainmen v. Norfolk Southern Railway Company
                 International Association of Sheet Metal, Air, Rail and Transportation Workers ‐ Transportation Division
1:21‐cv‐01870    et al v. Norfolk Southern Railway Company
1:21‐cv‐01877    Workman et al v. Bush et al
1:21‐cv‐01918    Quintus et al v. American Marketing Group, Inc.
1:21‐cv‐01922    Lindenbaum v. Alpha Gas and Electric, LLC, et al
1:21‐cv‐02042    Kovacic v. Aramark Correctional Service LLC et al
1:21‐cv‐02082    PFG Ventures, L.P. v. Tacabu LLC et al
1:21‐cv‐02157    Woodward v. CoreCivic, Inc. et al
1:21‐cv‐02197    Vaughn v. Rea et al
1:21‐cv‐02237    1 Group LLC v. iGuard Home Solutions Inc.
1:21‐cv‐02240    Debose v. Cuyahoga County, et al.
1:21‐cv‐02282    Laurence's Towing, Inc. v. City of Mansfield, Ohio et al
1:21‐cv‐02308    Berry v. Wells Fargo Bank, N.A. et al
1:21‐cv‐02312    Levert v. The Montefiore Home et al
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1:21‐cv‐02321   Laccinole v. National Enterprise Systems, Inc.
1:21‐cv‐02388   American Guarantee and Liability Insurance Company et al v. LL Taylor Surety, Inc. et al
1:21‐cv‐02407   Frazier et al v. Multilink, Inc.
1:22‐cv‐00019   Magby v. Fender et al
1:22‐cv‐00026   Capriato v. Topgolf USA CL, LLC et al
1:22‐cv‐00094   Ortho Bio‐Design, LLC v. Innovasis, Inc. et al
1:22‐cv‐00121   Becker v. D&S Plumbing Ohio, LLC et al
1:22‐cv‐00125   Shepard v. Louis Stokes Cleveland Department of Veteran Affairs
1:22‐cv‐00128   Henderson v. Jay Industries, Inc.
1:22‐cv‐00206   Dadkhah v. Blinken et al
4:20‐cv‐01746   Allen v. Ohio Department of Rehabilitation and Correction et al
4:20‐cv‐01868   Pollard et al v. Phillips
4:20‐cv‐02584   Johnson v. International Steel and Counterweights LLC
4:21‐cv‐00366   Atsas v. Bowen et al
4:21‐cv‐00616   Rico v. Lordstown Motors Corp. et al.
4:21‐cv‐00633   Palumbo v. Lordstown Motors Corp. et al.
4:21‐cv‐00720   Zuod v. Lordstown Motors Corp. et al.
4:21‐cv‐00760   Brury v. Lordstown Motors Corp. et al.
4:21‐cv‐00994   Romano v. Lordstown Motors Corporation et al
4:21‐cv‐01021   FNY Managed Accounts LLC v. Lordstown Motors Corp., et al.
4:21‐cv‐01267   Thai v. Burns et al
4:21‐cv‐01407   Malhi v. Maguire Schneider Hassay, L.L.P. et al
4:21‐cv‐01861   Save Our County et al v. United States Defense Logistics Agency et al
4:21‐cv‐02133   Estate of Alfonso C. Askew v. Trumbull County et al
4:21‐cv‐02380   Bukovinsky v. McKeen Group, Inc.
4:21‐cv‐02391   Griswold & Griswold Insurance Agency, Inc. v. Robert Carr Insurance Agency, Inc. et al
5:20‐cv‐02790   Shears v. FirstEnergy Corp. et al
5:21‐cv‐00056   Kallai et al v. Jatola Homes, LLC et al
5:21‐cv‐00103   Republic Steel v. Beemac, Inc. et al
5:21‐cv‐00170   dlhBOWLES, Inc. v. Jiangsu Riying Electronics Co., Ltd.
5:21‐cv‐00983   Li v Revere Local Schools Board of Education
5:21‐cv‐01003   Papczun v. NUCO Education Corporation et al
5:21‐cv‐01292   Wynn v. Starnes et al
5:21‐cv‐01308   Hope v. Berg et al
5:21‐cv‐01536   Hulsing Enterprises, LLC & Earth Fare Management, Inc. v. Fazio Mechanical Services, Inc.
5:21‐cv‐01966   Gregorcic v. Southwest Summit Council of Governments et al
5:21‐cv‐02001   Glasgow et al v. Beers et al
5:21‐cv‐02158   Seaman Corporation v. Zurich American Insurance Company et al
